                Case 18-03353-jw                       Doc 12              Filed 07/16/18 Entered 07/16/18 13:24:23                                                  Desc Main
                                                                           Document      Page 1 of 51
 Fill in this information to identify your case:

 Debtor 1                   Trawna Nichole McFadden
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                                                                 o    Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             177,599.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              13,169.94

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             190,768.94

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             237,744.45

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                3,492.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             133,646.65


                                                                                                                                     Your total liabilities $                   374,883.10


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                2,979.60

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,104.50

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        o No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        n  Yes
 7.     What kind of debt do you have?


        n       Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        o   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
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 Debtor 1      Trawna Nichole McFadden                                                    Case number (if known) 18-03353

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $            3,606.25


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $               42.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            92,381.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             92,423.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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                                                                                Document      Page 3 of 51
 Fill in this information to identify your case and this filing:

 Debtor 1                    Trawna Nichole McFadden
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number            18-03353                                                                                                                             o   Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   o No. Go to Part 2.
   n Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        9226 Southern Oak Lane
        Street address, if available, or other description
                                                                                  n    Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                  o                                               Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  o
                                                                                  o    Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Ladson                            SC        29456-0000                    n    Land                                       entire property?           portion you own?
        City                              State              ZIP Code             o    Investment property                               $177,599.00                $177,599.00
                                                                                  o    Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  o    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                  n    Debtor 1 only                              Fee simple
        Dorchester                                                                o    Debtor 2 only
        County                                                                    o    Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  o    At least one of the debtors and another
                                                                                                                                  o    (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                tax map162-02-01-176-000-C
                                                                                purchased 7/13/2009 for $162,000
                                                                                value based on county tax assessor site


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $177,599.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Trawna Nichole McFadden                                                                            Case number (if known)       18-03353
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   o No
   n Yes

  3.1    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camry                                     n Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2014                                      o Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:                115,559           o Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                    o At least one of the debtors and another
        VIN: 4T1BF1FK7EU359024
        value based on NADA clean                              o Check if this is community property                                    $9,675.00                  $9,675.00
        retail value                                                 (see instructions)

        2014 Toyota Camry 4dr Sdn I4
        auto L FWD 4 cyl eng


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   n No
   o Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $9,675.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   o No
    n Yes.     Describe.....

                                    ordinary household goods                                                                                                          $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    n No
    o Yes.     Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   o No
    n Yes.     Describe.....

                                    books, CDs, DVDs, artwork                                                                                                           $50.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    n No
    o Yes.     Describe.....



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1          Trawna Nichole McFadden                                                                                   Case number (if known)   18-03353
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    n No
    o Yes.       Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   o No
    n Yes.       Describe.....

                                            clothing and shoes                                                                                                            $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   o No
    n Yes.       Describe.....

                                            misc jewelry                                                                                                                  $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    n No
    o Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    n No
    o Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                              $350.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    n No
    o Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
   o No
   n Yes........................                                     Institution name:

                                                                                                 Navy Federal Credit Union
                                              17.1.       Checking                               Everyday Checking ****2260                                                 $0.00


                                                                                                 Navy Federal Credit Union
                                              17.2.       Checking                               e-checking acct ****3379                                                   $0.00


                                                                                                 Navy Federal Credit Union
                                              17.3.       Savings                                Membership Savings acct ****6932                                           $5.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                            page 3
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 Debtor 1        Trawna Nichole McFadden                                                                      Case number (if known)    18-03353
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    n No
    o Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    n No
    o Yes.     Give specific information about them...................
                                     Name of entity:                                                           % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    n No
    o Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   o No
    n Yes. List each account separately.
                                        Type of account:                    Institution name:

                                        401(k)                              Transamerica 401k                                                           $2,492.94


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    n No
    o Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    n No
    o Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    n No
    o Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    n No
    o Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    n No
    o Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    n No
    o Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.




Official Form 106A/B                                                  Schedule A/B: Property                                                                  page 4
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 Debtor 1        Trawna Nichole McFadden                                                                                         Case number (if known)        18-03353
28. Tax refunds owed to you
   o No
    n Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                              2017 net tax refund of $1294. Estimated
                                                                  acrued through June 2018 of $647                                      State/Federal                            $647.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    n No
    o Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    n No
    o Yes.      Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   o No
    n Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Term policy through employer
                                             insured: db
                                             no cash value                                                            children                                                       $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    n No
    o Yes.      Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   o No
    n Yes.      Describe each claim.........

                                                          Claims related to auto accident in June 2018 in Charleston
                                                          County. No claims filed. Debtor not at fault. Debtor's car
                                                          damaged and filed property damage claim against at fault
                                                          driver. Debtor has not hired an attorney at this time.                                                               Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    n No
    o Yes.      Describe each claim.........

35. Any financial assets you did not already list
    n No
    o Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $3,144.94


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 5
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 Debtor 1         Trawna Nichole McFadden                                                                                               Case number (if known)   18-03353
37. Do you own or have any legal or equitable interest in any business-related property?
   n No. Go to Part 6.
   o Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      n No. Go to Part 7.
      o Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    n No
    o Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $177,599.00
 56. Part 2: Total vehicles, line 5                                                                             $9,675.00
 57. Part 3: Total personal and household items, line 15                                                         $350.00
 58. Part 4: Total financial assets, line 36                                                                    $3,144.94
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $13,169.94              Copy personal property total              $13,169.94

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $190,768.94




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
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 Fill in this information to identify your case:

 Debtor 1                Trawna Nichole McFadden
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2014 Toyota Camry 115,559 miles                                 $9,675.00                                  $2,301.73     S.C. Code Ann. §
      VIN: 4T1BF1FK7EU359024                                                                                                   15-41-30(A)(2)
      value based on NADA clean retail                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit
      value
      2014 Toyota Camry 4dr Sdn I4 auto L
      FWD 4 cyl eng
      Line from Schedule A/B: 3.1

      ordinary household goods                                            $200.00                                  $200.00     S.C. Code Ann. §
      Line from Schedule A/B: 6.1                                                                                              15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      books, CDs, DVDs, artwork                                            $50.00                                   $50.00     S.C. Code Ann. §
      Line from Schedule A/B: 8.1                                                                                              15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      clothing and shoes                                                   $50.00                                   $50.00     S.C. Code Ann. §
      Line from Schedule A/B: 11.1                                                                                             15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      misc jewelry                                                         $50.00                                   $50.00     S.C. Code Ann. §
      Line from Schedule A/B: 12.1                                                                                             15-41-30(A)(4)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Trawna Nichole McFadden                                                                     Case number (if known)     18-03353
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Savings: Navy Federal Credit Union                                     $5.00                                     $5.00       S.C. Code Ann. §
     Membership Savings acct ****6932                                                                                             15-41-30(A)(5)
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Transamerica 401k                                         $2,492.94                                         n/a      S.C. Code Ann. §
     Line from Schedule A/B: 21.1                                                                                                 15-41-30(A)(14)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Transamerica 401k                                         $2,492.94                                         n/a      11 U.S.C. § 522(b)(3)(C)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     State/Federal: 2017 net tax refund of                               $647.00                                   $647.00        S.C. Code Ann. §
     $1294. Estimated acrued through                                                                                              15-41-30(A)(5)
     June 2018 of $647                                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit
     Line from Schedule A/B: 28.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes
TOTAL EXEMPTIONS: $3,303.73




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                Case 18-03353-jw                   Doc 12            Filed 07/16/18 Entered 07/16/18 13:24:23                                     Desc Main
                                                                     Document     Page 11 of 51
 Fill in this information to identify your case:

 Debtor 1                   Trawna Nichole McFadden
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                                              o   Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       o No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       n Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Carrington Mortgage
 2.1                                                                                                          $139,742.58               $177,599.00                     $0.00
         Service. Llc                             Describe the property that secures the claim:
         Creditor's Name                          9226 Southern Oak Lane Ladson,
                                                  SC 29456 Dorchester County
                                                  tax map162-02-01-176-000-C
                                                  purchased 7/13/2009 for $162,000
                                                  value based on county tax assessor
                                                  site
                                                  As of the date you file, the claim is: Check all that
         Po Box 3489                              apply.
         Anaheim, CA 92803                        o Contingent
         Number, Street, City, State & Zip Code   o Unliquidated
                                                  o Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 n Debtor 1 only                                  o An agreement you made (such as mortgage or secured
                                                       car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                     o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another        o Judgment lien from a lawsuit
 o Check if this claim relates to a               n Other (including a right to offset)    Mortgage
       community debt

                                 Opened
                                 07/09 Last
                                 Active
 Date debt was incurred          9/08/17                   Last 4 digits of account number        3913


         Charleston Area Comm
 2.2                                                                                                            $11,580.00              $177,599.00            $6,818.71
         Dev Corp                                 Describe the property that secures the claim:
         Creditor's Name                          9226 Southern Oak Lane Ladson,
                                                  SC 29456 Dorchester County
                                                  tax map162-02-01-176-000-C
                                                  purchased 7/13/2009 for $162,000
                                                  value based on county tax assessor
         2146 Dorchester Rd                       site
                                                  As of the date you file, the claim is: Check all that
         North Charleston, SC                     apply.
         29405                                    o Contingent
         Number, Street, City, State & Zip Code   o Unliquidated

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
             Case 18-03353-jw                      Doc 12            Filed 07/16/18 Entered 07/16/18 13:24:23                             Desc Main
                                                                     Document     Page 12 of 51
 Debtor 1 Trawna Nichole McFadden                                                                          Case number (if know)   18-03353
              First Name                  Middle Name                     Last Name


                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Second Mortgage
       community debt

 Date debt was incurred         7.17.2009                   Last 4 digits of account number


 2.3    Credit Acceptance                          Describe the property that secures the claim:                   $7,373.27          $9,675.00             $0.00
        Creditor's Name                            2014 Toyota Camry 115,559 miles
                                                   VIN: 4T1BF1FK7EU359024
                                                   value based on NADA clean retail
                                                   value
                                                   2014 Toyota Camry 4dr Sdn I4 auto
        25505 West 12 Mile Rd                      L FWD 4 cyl eng
                                                   As of the date you file, the claim is: Check all that
        Suite 3000                                 apply.
        Southfield, MI 48034                       o Contingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Purchase Money Security
       community debt

                                Opened
                                01/17 Last
                                Active
 Date debt was incurred         6/08/18                     Last 4 digits of account number        8994


        Tranquil Hill Community
 2.4                                                                                                             $33,095.13         $177,599.00             $0.00
        Association Inc                            Describe the property that secures the claim:
        Creditor's Name                            9226 Southern Oak Lane Ladson,
                                                   SC 29456 Dorchester County
                                                   tax map162-02-01-176-000-C
                                                   purchased 7/13/2009 for $162,000
                                                   value based on county tax assessor
                                                   site
                                                   As of the date you file, the claim is: Check all that
        PO Box 1207                                apply.
        Commerce, GA 30529                         o Contingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Home Owners Assoc Membership Dues
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 18-03353-jw                      Doc 12            Filed 07/16/18 Entered 07/16/18 13:24:23                                             Desc Main
                                                                     Document     Page 13 of 51
 Debtor 1 Trawna Nichole McFadden                                                                          Case number (if know)          18-03353
              First Name                  Middle Name                     Last Name


        United States of America
 2.5                                                                                                               $45,953.47                $177,599.00          $45,953.47
        through                                    Describe the property that secures the claim:
        Creditor's Name                            9226 Southern Oak Lane Ladson,
                                                   SC 29456 Dorchester County
                                                   tax map162-02-01-176-000-C
                                                   purchased 7/13/2009 for $162,000
        Secretary of Housing &                     value based on county tax assessor
        Urban Development                          site
                                                   As of the date you file, the claim is: Check all that
        451 7th Street SW                          apply.
        Washington, DC 20410                       o Contingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Third Mortgage
       community debt

 Date debt was incurred         1.7.2015                    Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $237,744.45
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $237,744.45

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
         Finkel Law Firm LLC
         PO Box 71727                                                                               Last 4 digits of account number   2126
         North Charleston, SC 29415

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
         John J Dodds, III, esquire
         858 Lowcountry Blvd, Ste 101                                                               Last 4 digits of account number   8434
         Mount Pleasant, SC 29464

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.5
         United States Attorney (SCLBR)
         District of South Carolina                                                                 Last 4 digits of account number   2126
         1441 Main Street
         Suite 500
         Columbia, SC 29201

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.5
         United States of America
         c/o U.S. Attorney                                                                          Last 4 digits of account number   2126
         District of South Carolina
         55 Beattie Place Suite 700
         Greenville, SC 29601




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 3 of 3
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                                                                      Document     Page 14 of 51
 Fill in this information to identify your case:

 Debtor 1                   Trawna Nichole McFadden
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                                                   o    Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
       o No. Go to Part 2.
       n Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority            Nonpriority
                                                                                                                                            amount              amount
 2.1          Gaffney Law Firm, P. A.                                Last 4 digits of account number                          $3,450.00           $3,450.00                   $0.00
              Priority Creditor's Name
              PO Box 3966                                            When was the debt incurred?
              West Columbia, SC 29171
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    o Domestic support obligations
        o Check if this claim is for a community debt                o Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         n Other. Specify    Administrative Expenses
        o Yes                                                                            priority attorney fees

 2.2          S.C. Department of Revenue                             Last 4 digits of account number                               $42.00              $42.00                 $0.00
              Priority Creditor's Name
              PO Box 12265                                           When was the debt incurred?
              Columbia, SC 29211
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    o Domestic support obligations
        o Check if this claim is for a community debt                n Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         o Other. Specify
        o Yes                                                                            liability for 2017

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 13
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                                                                     Document     Page 15 of 51
 Debtor 1 Trawna Nichole McFadden                                                                           Case number (if know)            18-03353

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       o No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       n Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Afni                                                      Last 4 digits of account number         0542                                                           $963.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy                                          When was the debt incurred?             Opened 02/18
            Po Box 3097
            Bloomington, IL 61702
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            n Debtor 1 only                                           o Contingent
            o Debtor 2 only                                           o Unliquidated
            o Debtor 1 and Debtor 2 only                              o Disputed
            o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            o Check if this claim is for a community                  o Student loans
            debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

            n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
            o Yes                                                     n Other. Specify     Collection Attorney Sprint


 4.2        Charleston Family Dentistry                               Last 4 digits of account number                                                                           $0.00
            Nonpriority Creditor's Name
            Keith M Kirkland                                          When was the debt incurred?
            2170 Savannah Hwy
            Charleston, SC 29414
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            n Debtor 1 only                                           o Contingent
            o Debtor 2 only                                           o Unliquidated
            o Debtor 1 and Debtor 2 only                              o Disputed
            o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            o Check if this claim is for a community                  o Student loans
            debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

            n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
            o Yes                                                     n Other. Specify     notice only; account in collections




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 13
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 Debtor 1 Trawna Nichole McFadden                                                                         Case number (if know)        18-03353

 4.3      Charleston Radiologists PA                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1241 Woodland Ave                                          When was the debt incurred?
          Mount Pleasant, SC 29464
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     notice only; account in collections


 4.4      Citizens Bank NA                                           Last 4 digits of account number                                                      $37,579.65
          Nonpriority Creditor's Name
          1 Citizens Drive Mailstop ROP15B                           When was the debt incurred?
          Riverside, RI 02915
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     student loan


 4.5      Cpw                                                        Last 4 digits of account number       1010                                                 $90.00
          Nonpriority Creditor's Name
                                                                                                           Opened 3/01/02 Last Active
          103 St Phillips St                                         When was the debt incurred?           3/27/12
          Charleston, SC 29403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     notice only; barred by limitation period




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 13
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 Debtor 1 Trawna Nichole McFadden                                                                         Case number (if know)        18-03353

 4.6      Credit Collections Services                                Last 4 digits of account number       6913                                               $734.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                      When was the debt incurred?           Opened 09/17
          725 Canton Street
          Norwood, MA 02062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Safeco Insurance


 4.7      Crest Financial                                            Last 4 digits of account number       5271                                                 $59.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/15 Last Active
          61 West 13490 South                                        When was the debt incurred?           12/16
          Draper, UT 84020
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               n Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Lease; interest db disputed


 4.8      Dept of Ed / Navient                                       Last 4 digits of account number       1024                                           $78,040.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 10/08 Last Active
          Po Box 9635                                                When was the debt incurred?           5/31/18
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
                                                                     Type of NONPRIORITY unsecured claim:
          o At least one of the debtors and another
          o Check if this claim is for a community                   n Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      o Other. Specify
                                                                                          Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 13
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 Debtor 1 Trawna Nichole McFadden                                                                         Case number (if know)        18-03353

 4.9      Dept of Ed / Navient                                       Last 4 digits of account number       0606                                             $3,808.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 06/14 Last Active
          Po Box 9635                                                When was the debt incurred?           5/31/18
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
                                                                     Type of NONPRIORITY unsecured claim:
          o At least one of the debtors and another
          o Check if this claim is for a community                   n Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      o Other. Specify
                                                                                          Educational
 4.1
 0        Dept of Ed / Navient                                       Last 4 digits of account number       0501                                             $7,568.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/09 Last Active
          Po Box 9635                                                When was the debt incurred?           5/31/18
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
                                                                     Type of NONPRIORITY unsecured claim:
          o At least one of the debtors and another
          o Check if this claim is for a community                   n Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      o Other. Specify
                                                                                          Educational
 4.1
 1        Dept of Ed / Navient                                       Last 4 digits of account number       0501                                             $2,965.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/09 Last Active
          Po Box 9635                                                When was the debt incurred?           5/31/18
          Wilkes Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
                                                                     Type of NONPRIORITY unsecured claim:
          o At least one of the debtors and another
          o Check if this claim is for a community                   n Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      o Other. Specify
                                                                                          Educational




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 Debtor 1 Trawna Nichole McFadden                                                                         Case number (if know)        18-03353

 4.1      Equifax Information Services LLC
 2        (www)                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 740256                                              When was the debt incurred?
          Atlanta, GA 30374-0256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 3        Experian (www dispute)                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2002                                                When was the debt incurred?
          Allen, TX 75013-2002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 4        Financial Data Systems                                     Last 4 digits of account number       6216                                                   $9.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/17 Last Active
          1683 Military Cutoff Rd                                    When was the debt incurred?           11/16
          Wrightsville Beach, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Collection Attorney Charleston
          o Yes                                                      n Other. Specify     Radiologists




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 4.1
 5        Financial Data Systems                                     Last 4 digits of account number       2272                                               $118.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/17 Last Active
          1683 Military Cutoff Rd                                    When was the debt incurred?           04/17
          Wrightsville Beach, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Keith W Kirkland Dmd


 4.1
 6        Internal Revenue Service (p)                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Centralized Insolvency Operation                           When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 7        Medicredit, Inc                                            Last 4 digits of account number       7948                                                 $68.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/17 Last Active
          Po Box 1629                                                When was the debt incurred?           02/17
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Medical Univers




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 Debtor 1 Trawna Nichole McFadden                                                                         Case number (if know)        18-03353

 4.1
 8        Medicredit, Inc                                            Last 4 digits of account number       0240                                               $440.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/17 Last Active
          Po Box 1629                                                When was the debt incurred?           01/17
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Medical Univers


 4.1
 9        Medicredit, Inc                                            Last 4 digits of account number       8600                                                 $87.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/17 Last Active
          Po Box 1629                                                When was the debt incurred?           08/16
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Medical Univers


 4.2
 0        Medicredit, Inc                                            Last 4 digits of account number       7445                                               $132.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/17 Last Active
          Po Box 1629                                                When was the debt incurred?           01/17
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Medical Univers




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 4.2
 1        Medicredit, Inc                                            Last 4 digits of account number       7683                                               $131.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/17 Last Active
          Po Box 1629                                                When was the debt incurred?           01/17
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Collection Attorney Medical Univers


 4.2
 2        Midland Funding                                            Last 4 digits of account number       7189                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
          2365 Northside Dr Ste 300                                  When was the debt incurred?           07/15
          San Diego, CA 92108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Factoring Company Account Synchrony
          o Yes                                                      n Other. Specify     Bank: barred by limtation period


 4.2
 3        MUSC Health                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          171 Ashley Ave                                             When was the debt incurred?
          Charleston, SC 29425
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     notice only; account in collections




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 4.2
 4        S.C. Departement of Revenue                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Correspondence                                             When was the debt incurred?
          PO Box 125
          Columbia, SC 29214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     notice only


 4.2
 5        S.C. Department of Revenue                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          GEAR                                                       When was the debt incurred?
          300A Outlet Pointe Boulevard
          Columbia, SC 29210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.2
 6        Safeco Insurance                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 6478                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     notice only; account in collections




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 4.2
 7        SCA Collections, Inc                                       Last 4 digits of account number       3501                                                   $0.00
          Nonpriority Creditor's Name
          300 E Arlington Blvd Ste 6-A                                                                     Opened 10/05/15 Last Active
          Po Box 876                                                 When was the debt incurred?           02/15
          Greenville, NC 27835
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Medical Debt Roper Saint Fra; barred by
          o Yes                                                      n Other. Specify     limtation periiod


 4.2
 8        SFC Central Bankruptcy                                     Last 4 digits of account number                                                          $855.00
          Nonpriority Creditor's Name
          PO Box 1893                                                When was the debt incurred?
          Spartanburg, SC 29304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     personal loan


 4.2
 9        Tax Collector                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Dorchester County                                          When was the debt incurred?
          201 Johnston St
          Saint George, SC 29477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only




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 4.3       Trans Union Consumer Solutions
 0         (www)                                                     Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           PO Box 2000                                               When was the debt incurred?
           Chester, PA 19016
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Contingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
           o Yes                                                     n Other. Specify     Notice only


 4.3
 1         Treasurer                                                 Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           Dorchester County                                         When was the debt incurred?
           201 Johnston Street
           Saint George, SC 29477
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Contingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
           o Yes                                                     n Other. Specify     Notice only


 4.3
 2         US Department of the Treasury                             Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           Bureau of the Fiscal Service                              When was the debt incurred?
           Debt Management Services
           PO Box 1686
           Birmingham, AL 35201
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Contingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
           o Yes                                                     n Other. Specify     Notice only

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

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   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Roper St Francis                                              Line 4.27 of (Check one):               o Part 1: Creditors with Priority Unsecured Claims
 1 S Park Circle                                                                                        n Part 2: Creditors with Nonpriority Unsecured Claims
 Charleston, SC 29407
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank (STAT)                                         Line 4.22 of (Check one):               o Part 1: Creditors with Priority Unsecured Claims
 PO box 6153                                                                                            n Part 2: Creditors with Nonpriority Unsecured Claims
 Rapid City, SD 57709-6153
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                       42.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                    3,450.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    3,492.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                  92,381.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  41,265.65

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                 133,646.65




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 Fill in this information to identify your case:

 Debtor 1                 Trawna Nichole McFadden
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                                      o   Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        n No. Check this box and file this form with the court with your other schedules.         You have nothing else to report on this form.
        o Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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                Case 18-03353-jw                       Doc 12            Filed 07/16/18 Entered 07/16/18 13:24:23                Desc Main
                                                                         Document     Page 28 of 51
 Fill in this information to identify your case:

 Debtor 1                   Trawna Nichole McFadden
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                             o   Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      n No
      o Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      n No. Go to line 3.
      o Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                               o Schedule D, line
                Name
                                                                                                      o Schedule E/F, line
                                                                                                      o Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                               o Schedule D, line
                Name
                                                                                                      o Schedule E/F, line
                                                                                                      o Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Trawna Nichole McFadden

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number               18-03353                                                                       Check if this is:
(If known)
                                                                                                         o   An amended filing
                                                                                                         o   A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                              n Employed                                   o Employed
       attach a separate page with           Employment status
       information about additional                                o Not employed                               o Not employed
       employers.
                                             Occupation            Legal Coordinator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Post & Courier

       Occupation may include student        Employer's address
                                                                   134 Columbus St
       or homemaker, if it applies.
                                                                   Charleston, SC 29403

                                             How long employed there?         3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         3,201.47        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      3,201.47               $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Trawna Nichole McFadden                                                              Case number (if known)    18-03353


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.        $      3,201.47       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.       $        245.31       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.       $          0.00       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.       $         95.92       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.       $          0.00       $               N/A
      5e.   Insurance                                                                      5e.       $        195.04       $               N/A
      5f.   Domestic support obligations                                                   5f.       $          0.00       $               N/A
      5g.   Union dues                                                                     5g.       $          0.00       $               N/A
                                          401k loan ($874.15 bal; 9/22/2022 exp
      5h.   Other deductions. Specify:    payoff)                                          5h.+ $               19.15 + $                  N/A
            FSA                                                                                 $               42.25   $                  N/A
            offset earn                                                                         $                4.20   $                  N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.    $            601.87       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.    $          2,599.60       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.       $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.       $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.       $        280.00       $               N/A
      8d. Unemployment compensation                                                        8d.       $          0.00       $               N/A
      8e. Social Security                                                                  8e.       $          0.00       $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.       $              0.00   $               N/A
      8g. Pension or retirement income                                                     8g.       $              0.00   $               N/A
                                               contribution from resident
      8h.   Other monthly income. Specify:     daughter                                    8h.+ $             100.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.    $            380.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $             2,979.60 + $           N/A = $          2,979.60
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         2,979.60
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
    n     No.
    o     Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                Trawna Nichole McFadden                                                            Check if this is:
                                                                                                           o An amended filing
Debtor 2                                                                                                   o A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number           18-03353
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      n No. Go to line 2.
      o Yes. Does Debtor 2 live in a separate household?
            o No
            o Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             o No
      Do not list Debtor 1 and            n Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                  o No
      dependents names.                                                            Son                                  7               n Yes
                                                                                                                                        o No
                                                                                   Daughter                             18              n Yes
                                                                                                                                        o No
                                                                                                                                        o Yes
                                                                                                                                        o No
                                                                                                                                        o Yes
3.    Do your expenses include                   n No
      expenses of people other than
      yourself and your dependents?              o Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           210.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Trawna Nichole McFadden                                                                   Case number (if known)      18-03353

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 200.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 220.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                140.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 30.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  25.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  113.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: vehicle property taxes                                                        16. $                                                  11.50
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,104.50
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,104.50
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,979.60
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,104.50

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 875.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      n No.
      o Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                                     Document     Page 33 of 51




 Fill in this information to identify your case:

 Debtor 1                    Trawna Nichole McFadden
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              18-03353
 (if known)
                                                                                                                                  o   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        n       No

        o       Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Trawna Nichole McFadden                                               X
              Trawna Nichole McFadden                                                   Signature of Debtor 2
              Signature of Debtor 1

              Date       July 11, 2018                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Trawna Nichole McFadden
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-03353
 (if known)
                                                                                                                                           o   Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

       o       Married
       n       Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       n       No
       o       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       n       No
       o       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       o       No
       n       Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until              n Wages, commissions,                        $19,208.81         o Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                   o Operating a business                                          o Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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 Debtor 1      Trawna Nichole McFadden                                                                     Case number (if known)   18-03353


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                           n Wages, commissions,                        $36,256.60         o Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                   o Operating a business                                          o Operating a business

 For the calendar year before that:                n Wages, commissions,                        $35,811.00         o Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                   o Operating a business                                          o Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      o     No
      n     Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until contribution from                                             $600.00
 the date you filed for bankruptcy:   resident daughter

                                                   child support                                  $1,680.00

 For last calendar year:                           child support                                  $1,680.00
 (January 1 to December 31, 2017 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
      o No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                     o   No.       Go to line 7.
                     o   Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

      n     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     o   No.       Go to line 7.
                     n   Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Trawna Nichole McFadden                                                                     Case number (if known)   18-03353


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Credit Acceptance                                         6/11/2018                        $240.00            $7,373.27      o Mortgage
       25505 West 12 Mile Rd                                                                                                        n Car
       Suite 3000
                                                                                                                                    o Credit Card
       Southfield, MI 48034
                                                                                                                                    o Loan Repayment
                                                                                                                                    o Suppliers or vendors
                                                                                                                                    o Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      n     No
      o     Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      n     No
      o     Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      o     No
      n     Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Carrington Mortage Services LLC                           foreclosure                Clerk of Court                          n   Pending
       vs. Trawwana Nichole McFadden                                                        Dorchester County                       o   On appeal
       2017CP1802126                                                                        5200 East Jim Bilton Blvd.
                                                                                                                                    o   Concluded
                                                                                            Saint George, SC 29477
                                                                                                                                    sale stayed by emergency
                                                                                                                                    petition

       Tranquil Hill Community                                   foreclosure                Clerk of Court                          n   Pending
       Association Inc vs. Trawwana                                                         Dorchester County                       o   On appeal
       Nichole McFadden                                                                     5200 East Jim Bilton Blvd.
                                                                                                                                    o   Concluded
       2017CP-18-434                                                                        Saint George, SC 29477
                                                                                                                                    sale stayed by emergency
                                                                                                                                    petition




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10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      n     No. Go to line 11.
      o     Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                    Value of the
                                                                                                                                                         property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
      n     No
      o     Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was              Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

      n     No
      o     Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      n     No
      o     Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      n     No
      o     Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      n     No
      o     Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      o     No
      n     Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
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       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Gaffney Law Firm, P.A.                                         $600 total for                                          6/28/2018                   $600.00
       P.O. Box 3966                                                  $310 filing fee
       West Columbia, SC 29171-3966                                   $40 credit report fee
       david@gaffneylawfirm.com                                       $250 attorney fees


       Allen Credit and Debt Counseling                               $20 for credit counseling course                        6/27/2018                     $20.00
       Agency



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      n     No
      o     Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
      n     No
      o     Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
      n     No
      o     Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
      n     No
      o     Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

      n     No
      o     Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      n     No
      o     Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

      n     No
      o     Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

n     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
n     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
n     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      n     No
      o     Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

      n     No
      o     Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      n      No
      o      Yes. Fill in the details.
        Case Title                                                    Court or agency                      Nature of the case                    Status of the
        Case Number                                                   Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             o A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             o A member of a limited liability company (LLC) or limited liability partnership (LLP)
             o A partner in a partnership
             o An officer, director, or managing executive of a corporation
             o An owner of at least 5% of the voting or equity securities of a corporation
      n      No. None of the above applies. Go to Part 12.
      o      Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      n      No
      o      Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Trawna Nichole McFadden
 Trawna Nichole McFadden                                                  Signature of Debtor 2
 Signature of Debtor 1

 Date      July 11, 2018                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
n No
o Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
n No
o Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Trawna Nichole McFadden                                                                 According to the calculations required by this
                                                                                                               Statement:
 Debtor 2
 (Spouse, if filing)
                                                                                                               n     1. Disposable income is not determined under
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of South Carolina                                 o     2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number           18-03353
 (if known)
                                                                                                               n     3. The commitment period is 3 years.

                                                                                                               o     4. The commitment period is 5 years.

                                                                                                                o Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
        n Not married. Fill out Column A, lines 2-11.
        o Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            3,226.25       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                           380.00       $
  5. Net income from operating a business,
     profession, or farm                                               Debtor 1
        Gross receipts (before all deductions)                            $       0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $                 0.00      $
  6. Net income from rental and other real property                    Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                        -$       0.00
        Net monthly income from rental or other real property            $        0.00 Copy here -> $                 0.00      $




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                                                                                                            Column A                      Column B
                                                                                                            Debtor 1                      Debtor 2 or
                                                                                                                                          non-filing spouse
                                                                                                            $                  0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                              $                  0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                 $                  0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                            $                  0.00       $
                                                                                                            $                  0.00       $
                  Total amounts from separate pages, if any.                                           +    $                  0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $        3,606.25           +   $                  =    $      3,606.25

                                                                                                                                                              Total average
                                                                                                                                                              monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                            $          3,606.25
  13. Calculate the marital adjustment. Check one:
       n      You are not married. Fill in 0 below.
       o      You are married and your spouse is filing with you. Fill in 0 below.
       o      You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                   $
                                                                                                   $
                                                                                                 +$

                     Total                                                                        $                    0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                     $          3,606.25

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                      $          3,606.25

                Multiply line 15a by 12 (the number of months in a year).                                                                                     x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................            $         43,275.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                 page 2
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  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             SC

       16b. Fill in the number of people in your household.                  3
       16c. Fill in the median family income for your state and size of household.                                                          $     61,473.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.       n     Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                        11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.       o     Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                        your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                          $                  3,606.25
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                         -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                             $          3,606.25


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                   $      3,606.25

              Multiply by 12 (the number of months in a year).                                                                                  x 12

       20b. The result is your current monthly income for the year for this part of the form                                                $     43,275.00




       20c. Copy the median family income for your state and size of household from line 16c                                                $     61,473.00


       21. How do the lines compare?

              n       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                      period is 3 years. Go to Part 4.

              o       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                      commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Trawna Nichole McFadden
        Trawna Nichole McFadden
        Signature of Debtor 1
       Date July 11, 2018
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                  page 3
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                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2018 to 06/30/2018.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Post & Courier
Income by Month:
 6 Months Ago:                                    01/2018                  $2,978.08
 5 Months Ago:                                    02/2018                  $2,978.08
 4 Months Ago:                                    03/2018                  $4,467.12
 3 Months Ago:                                    04/2018                  $2,978.08
 2 Months Ago:                                    05/2018                  $2,978.08
 Last Month:                                      06/2018                  $2,978.08
                                 Average per month:                        $3,226.25




Line 4 - Contributions to household expenses of the debtor or dependents
Source of Income: contr from resident daughter
Constant income of $100.00 per month.



Line 4 & 40 - Child support income (including foster care and disability)
Source of Income: child support
Constant income of $280.00 per month.




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re       Trawna Nichole McFadden                                                                           Case No.     18-03353
                                                                                  Debtor(s)                    Chapter      13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                  3,700.00
              Prior to the filing of this statement I have received                                        $                    250.00
              Balance Due                                                                                  $                  3,450.00

2.     $     310.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

              n   Debtor           o Other (specify):

4.     The source of compensation to be paid to me is:

              n   Debtor           o Other (specify):

5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Mortgage Loan Loss Mitigation and Modification Applications:
                  - Judge Duncan - $1,500.00;
                  - Judge Waites - $1,700.00 for Portal Process; or $300.00 for Non-Portal

                  Add Creditors after signing and before bar date $50.00
                  Additional services not separately itemized and excluded in fee agreement $150.00 hr. atty.
                  Additional services not separately itemized and excluded in fee agreement $75.00 hr. paralegal
                  Address Changes $50.00
                  Adversary proceedings EXCLUDED AND NEGOTIATED
                  Amendments due to incomplete or inaccurate information from Debtor $120.00 per item
                  Appeals EXCLUDED AND NEGOTIATED
                  Application for Settlement $150.00
                  Application to Employ $150.00
                  Attend hearing on motion to reconsider $200.00
                  Consent Order Approving Loan Modification $250.00
                  Consent Order Lifting Stay to Proceed in Family Court $250.00
                  Continuation of First Meeting of Creditors $50.00
                  Conversion to Chapter 13 NEGOTIATED
                  Convert to Chapter 7 $550.00
                  Creditor Violation Letter $50.00
                  Defense of Motion for Relief from Automatic Stay (no hearing) $300.00
                  Defense of Motion for Relief from Automatic Stay no ins. w/o hrg $125.00
                  Defense of Motion for Relief from Automatic Stay with hearing $400.00
                  Defense of Motion to Dismiss by Creditor after confirmation $200.00
                  Defense of Trustee's Petition to Dismiss $200.00


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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                  Drafting Reaffirmation Agreement $250.00
                  Filing claim for creditor $200.00
                  Forwarding third party correspondence and statements $50.00
                  Mail Letter $50.00
                  Mailing costs to serve creditors $1.00
                  Moratorium (temp suspension of bankruptcy payments) $250.00
                  Motion Establish Tax Claim $350.00
                  Motion reinstate stay $350.00
                  Motion Substitute Attorney $150.00
                  Motion to Abandon Property $150.00
                  Motion to incur debt (real estate complex) $150.00 hr atty.
                  Motion to incur debt (real estate w/o lien avoidance) $150.00 hr atty.
                  Motion to Reconsider Dismissal for non-payment $250.00
                  Motion to reinstate the case $250.00
                  Motion to sell personal property $250.00
                  Motion to sell real property $400.00
                  Motion to Substitute Collateral $350.00
                  Motion to incur debt (personal property ) $350.00
                  Notice of Appearance $150.00
                  Objection to creditor claim $300.00
                  Plan Modification after confirmation $350.00
                  Resolution of Petition to Dismiss prior to hearing $150.00
                  Resumption of Payment Order $350.00
                  Services not related to bankruptcy case EXCLUDED AND NEGOTIATED
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 11, 2018                                                              /s/ David C. Gaffney
     Date                                                                       David C. Gaffney 10112
                                                                                Signature of Attorney
                                                                                Gaffney Law Firm, P.A.
                                                                                P.O. Box 3966
                                                                                West Columbia, SC 29171-3966
                                                                                803-781-0500 Fax: 803-454-9900
                                                                                david@gaffneylawfirm.com
                                                                                Name of law firm




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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Trawna Nichole McFadden                                                                       Case No.   18-03353
                                                                                   Debtor(s)              Chapter    13


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: July 11, 2018                                                    /s/ Trawna Nichole McFadden
                                                                        Trawna Nichole McFadden
                                                                        Signature of Debtor

 Date: July 11, 2018                                                    /s/ David C. Gaffney
                                                                        Signature of Attorney
                                                                        David C. Gaffney 10112
                                                                        Gaffney Law Firm, P.A.
                                                                        P.O. Box 3966
                                                                        West Columbia, SC 29171-3966
                                                                        803-781-0500 Fax: 803-454-9900
                                                                        Typed/Printed Name/Address/Telephone

                                                                        10112 SC
                                                                        District Court I.D. Number




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